244 F.2d 72
    L. C. FULLER, JR., LUMBER CO., Inc., Appellant,v.Chester Herman ANGLIN, Appellee.L. C. FULLER, JR., LUMBER CO., Inc., Appellant,v.Mrs. Grace ROBBINS, Administratrix of the Estate of BaileyRobbins, Deceased, Appellee.L. C. FULLER, JR., LUMBER CO., Inc., Appellant,v.G. C. MILLIGAN and John T. Ridgeway, d.b.a. Milligan &amp;Ridgeway Funeral Home, Appellees.
    Nos. 13057-13059.
    United States Court of Appeals Sixth Circuit.
    April 30, 1957.
    
      Ortmeyer, Bamberger, Ortmeyer &amp; Foreman, Evansville, Ind., Miller Manier, Nashville, Tenn., for appellant.
      Hooker, Keeble, Dodson &amp; Harris, Nashville, Tenn., Aaron Brown, Paris, Tenn., S. C. Lewis, N. A. Link, Dover, Tenn., for appellees.
      Before MARTIN, McALLISTER and STEWART, Circuit Judges.
      PER CURIAM.
    
    
      1
      These consolidated appeals grow out of a head-on collision between a trailer truck and a hearse, which occurred in Indiana in 1954.  Trial was had in the Middle District of Tennessee, the residence of appellees, resulting in verdicts in their favor against the appellant truck owner, a corporation domiciled in Alabama.
    
    
      2
      The appellant complains of the district court's failure to grant its motion to transfer the actions to the Southern District of Indiana in accordance with 28 U.S.C.A. § 1404(a), and of several alleged errors committed by the court before and during the trial.
    
    
      3
      The question of whether to transfer the actions to Indiana was one entrusted to the district court's discretion, of which there was no abuse under the circumstances disclosed by the record.  After careful examination of the other matters raised by able counsel for the appellant, we are unable to conclude that either alone or in combination any of them constituted prejudicial error affecting substantial rights.
    
    
      4
      The judgments of the district court are accordingly affirmed.
    
    